
PER CURIAM.
We affirm the trial court’s order denying the motion for relief pursuant to Florida Rule of Criminal Procedure 3.850 because the motion is unsworn. The order, however, dismisses the proceeding with leave to file another proper motion. By the time the order was issued, the time to file a proper motion had expired. Accordingly, we hold that Joseph M. Ungarelli may file a motion pursuant to Florida Rule of Criminal Procedure 3.850 within thirty days from the issuance of mandate in this case, which motion shall not be denied on the ground that it is untimely.
Affirmed with instructions.
ALTENBERND, A.C.J., and WHATLEY and SALCINES, JJ., Concur.
